            IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF NEW YORK



JOHN DOE #1, et al.,               Civil Action No.
                                   5:18-CV-0496 (FJS/DEP)
                Plaintiffs,

     v.

SYRACUSE UNIVERSITY, et al.,

                Defendants.



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FOR PLAINTIFFS:

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DAVID E. PEEBLES
CHIEF U.S. MAGISTRATE JUDGE
                    REPORT AND RECOMMENDATION

      This is an action brought by nine unidentified plaintiffs all of whom, at

the times relevant to their claims, were students at Syracuse University

("University") and members of the Syracuse University Chapter of Theta

Tau, a professional engineering fraternity, against the University and

several employees of the institution. The claims in the action arise out of

disciplinary proceedings against plaintiffs based upon their participation in

a "satirical skit" or "roast" of the Theta Tau brothers, which was recorded

and eventually made public. Plaintiffs assert causes of action against

defendants for breach of contract, violation of an implied covenant of good

faith and fair dealing, breach of contract for violating plaintiffs' contractually

protected First Amendment rights, and defamation. Plaintiffs seek both

compensatory and punitive damages as well as injunctive relief.

      Among the matters currently pending before the court is a motion

brought by defendants requesting an order directing plaintiffs to identify

themselves by name, as required under Rules 10(a) and 17(a) of the

Federal Rules of Civil Procedure. For the reasons set forth below, I

recommend that defendants' motion be denied.




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I.     BACKGROUND

       The nine plaintiffs in this action are all out-of-state residents who

were enrolled as students at the University during the 2017-2018

academic year, and were prospective or then-current members of the

Theta Tau professional engineering fraternity chapter at the school. Dkt.

No. 26 at 1, 4, 6. Plaintiffs participated in a "satirical skit" or "roast" of

Theta Tau brothers on March 30, 2018, at the Theta Tau house. Id. at 1-2,

8-9. The roast was recorded and made privately available to the University

Theta Tau members by means of the fraternity's private Facebook group.

Id. at 1-2. On April 18, 2018, an unidentified individual accessed Theta

Tau's private Facebook group, recorded the video of the "roast," and

provided it to officials at the University and The Daily Orange, the

University's independent, student-run newspaper. Id. at 2, 8, 13. The Daily

Orange published the first video of the "roast" on April 18, 2018, and the

second video on April 21, 2018; both of those publications garnered

considerable local and national attention due to their content.1 Id. at 13.

       On April 18, 2018, the Director of the Office of Student Rights and

Responsibilities at the University emailed the Theta Tau chapter to advise

that it had been suspended from the University. Dkt. No. 26 at 11. Soon



1      According to plaintiffs, the video recordings of the "roast" are also now publicly
available on YouTube. Dkt. No. 26 at 8.
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after that email was sent, defendant Kent Syverud, the Chancellor of the

University, sent a campus-wide email referring to the conduct and words

used in the video as "extremely racist, anti-Semitic, homophobic, racist,

sexist, and hostile to people with disabilities." Id. at 12. Defendant Teresa

Abi-Nader Dahlberg, the Dean of the University, College of Engineering

and Computer Science, followed with an email stating, "[s]ome members

of the Theta Tau professional engineering fraternity us[ed] racist, anti-

Semitic, homophobic, sexist, and ableist language." Id.

      Defendants sent eighteen students, including the nine plaintiffs

herein, identical notices on or about April 21, 2018, stating that a

complaint had been filed against them by the Department of Public Safety

accusing them of having violated various University rules and regulations.

Dkt. No. 26 at 14-15. Plaintiffs were subsequently notified, on April 22 and

23, 2018, that in addition to being charged, they were being suspended

from the University. Id. at 15. The University Conduct Board held hearings

between April 19, 2018 and April 23, 2018, and on June 5, 2018, found

plaintiffs responsible for all of the Code of Conduct violation charges

lodged against them.2 Id. at 16-17.


2       In its decision, the Conduct Board noted that the University had withdrawn its
Title IX claim "during deliberations." Dkt. No. 26 at 17. The University nonetheless
continued to operate under Title IX procedures when it addressed the accusations
against the plaintiffs. Id.

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II.     PROCEDURAL HISTORY

        Plaintiffs commenced this action on April 24, 2018, asserting

diversity of citizenship as a basis for the court's jurisdiction, and filed an

amended complaint on July 9, 2018.3 Dkt. Nos. 1, 26. In their amended

complaint, plaintiffs have identified themselves only as John Doe #1

through John Doe #9.4 Dkt. No. 26 at 4. In a motion filed the day after the

action was commenced, plaintiffs sought a temporary restraining order

and a preliminary injunction, as well as leave to proceed in the action

anonymously, arguing the University would not be prejudiced by allowing

them to proceed as Doe parties, and that their privacy interests "far

outweigh any interest in access to court records." Dkt. No. 5-7 at 1-4. The

application for injunctive relief was ultimately withdrawn and,

consequently, the portion of plaintiffs' motion which requested leave to

proceed as Doe plaintiffs was not acted upon by the court. See Dkt. Nos.

7, 8.

        On June 18, 2018, defendants filed a motion requesting an order

requiring plaintiffs to correct the caption of their amended complaint and to


3     Plaintiffs filed a third amended complaint in this action on August 30, 2018. Dkt.
No. 60. Defendants have sought permission, pursuant to Northern District of New York
Local Rule 7.1(b)(2), to file a motion to strike that amended pleading. See Dkt. No. 64.
4      When this action was commenced, there were only five plaintiffs. Dkt. No. 1.
The list of plaintiffs was expanded with the filing of plaintiffs' first amended complaint
on July 9, 2018. Dkt. No. 26.
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publicly identify themselves by name. Dkt. No. 19. In their motion,

defendants argue that (1) plaintiffs' identities are already known or are

easily ascertainable; (2) embarrassment from one's actions is not a

sufficient reason to evade public identification in a lawsuit; and (3) the

public has a right to judicial openness and to monitor who is accessing the

courts. Dkt. No. 19-1 at 7-8. In response, plaintiffs have countered that (1)

allowing them to proceed under pseudonyms will not prejudice

defendants; (2) the case involves highly sensitive and personal information

and issues; and (3) revealing plaintiffs' names will tie them to this event for

the rest of their lives, put their safety at risk, and damage their future

academic and employment opportunities.5 Dkt. No. 25-6 at 1-2.

III.   DISCUSSION

       A.     Legal Standard Governing Motions to Proceed Anonymously

       The Federal Rules of Civil Procedure mandate that "[a]n action must

be prosecuted in the name of the real party in interest." Fed. R. Civ. P.

17(a)(1). Rule 10(a) of the Federal Rules of Civil Procedure provides that

"[t]he title of the complaint must name all the parties." Fed. R. Civ. P.


5      I note that some of the plaintiffs in this action as well as certain other affected
students have commenced a related proceeding in New York State Supreme Court,
pursuant to Article 78 of the N.Y. Civil Practice Law and Rules. That proceeding is
pending before Supreme Court Justice James P. McClusky, who sits in Jefferson
County, New York. According to plaintiffs' counsel, Justice McClusky has entered an
order permitting the petitioners in that action to proceed anonymously.

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10(a). These rules are intended to further the fundamental right of public

access to the courts. That right, sometimes referred to as a presumption of

access, is rooted in our nation's history. United States v. Amodeo, 44 F.3d

141, 145 (2d Cir. 1995) ("Amodeo I"); see also Nixon v. Warner

Commc'ns, Inc., 435 U.S. 589, 597 (1978). Access to federal courts allows

the public to hold judges accountable for their decisions and preserves

confidence in the administration of justice. United States v. Amodeo, 71

F.3d 1044, 1048 (2d Cir. 1995) ("Amodeo II").

      Identifying parties to a lawsuit is an important aspect of the

requirement of openness and presumption of access to the courts, for the

simple reason that the public has a right to know who is utilizing the

courts. Sealed Plaintiff, 537 F.3d at 189 (citing Doe v. BlueCross &

BlueShield United, 112 F.3d 869, 872 (7th Cir. 1997)). The use of fictitious

names or pseudonyms to replace the true identities of litigants "runs afoul

of the public's common law right of access to judicial proceedings . . . , a

right that is supported by the First Amendment." Doe v. Del Rio, 241

F.R.D. 154, 156 (S.D.N.Y. 2006) (citing Does 1 thru XXIII v. Advanced

Textile Corp., 214 F.R.D. 652, 653 (D. Mont. 1974)); accord Doe v. Delta

Airlines, Inc., 310 F.R.D. 222, 224 (S.D.N.Y. 2015); see Lugosch v.

Pyramid Co. of Onondaga, 435 F.3d 110, 119-20 (2d Cir. 2006);

Westmoreland v. Columbia Broad. Sys., Inc., 752 F.2d 16, 23 (2d Cir.
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1984) ("[T]he First Amendment does secure to the public and to the press

a right of access to civil proceedings."). Private civil suits advance the

public's interest in enforcing legal and social norms. Del Rio, 241 F.R.D. at

159. When a lawsuit involves issues concerning a defendant's actions or a

particular incident, instead of challenging abstract public policies, open

proceedings serve the judiciary's interest in a fair and accurate fact-finding

adjudication. Id.

      Courts have recognized a narrow exception to the rules requiring

disclosure of party identities in cases where individual privacy concerns

are implicated in a case. Doe v. City of N.Y., 201 F.R.D. 100, 101

(S.D.N.Y. 2001). The decision as to whether to permit a litigant to proceed

anonymously is entrusted to the sound discretion of the court. Doe No. 2

v. Kolko, 242 F.R.D. 193, 195 (E.D.N.Y. 2006), and requires a careful and

fact-specific examination into the circumstances of the case at hand. Del

Rio, 241 F.R.D. at 159.

      The Second Circuit has established a list of ten, non-exhaustive

factors that courts should consider when determining whether to permit a

party to proceed anonymously. Sealed Plaintiff v. Sealed Defendant, 537

F.3d 185, 190 (2d Cir. 2008). Those factors include

            (1) whether the litigation involves matters that are
            highly sensitive and of a personal nature; (2)
            whether identification poses a risk of retaliatory
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            physical or mental harm to the party seeking to
            proceed anonymously or even more critically, to
            innocent non-parties; (3) whether identification
            presents other harms and the likely severity of
            those harms; (4) whether the plaintiff is particularly
            vulnerable to the possible harms of disclosure; (5)
            whether the suit is challenging the actions of the
            government or that of private parties; (6) whether
            the defendant is prejudiced by allowing the plaintiff
            to press his claims anonymously, whether the
            nature of that prejudice (if any) differs at any
            particular stage of the litigation, and whether any
            prejudice can be mitigated by the district court; (7)
            whether the plaintiff's identity has thus far been
            kept confidential; (8) whether the public's interest in
            the litigation is furthered by requiring the plaintiff to
            disclose his identity; (9) whether, because of the
            purely legal nature of the issues presented or
            otherwise, there is an atypical weak public interest
            in knowing the litigants' identities; and (10) whether
            there are any alternative mechanisms for
            protecting the confidentiality of the plaintiff.

Id. (citations and internal quotation marks omitted). Although identifying

the foregoing, non-exhaustive list of factors that can inform the decision of

whether to permit a party to proceed anonymously, in Sealed Plaintiff, the

Second Circuit did not espouse the wooden application of those

considerations. Id. Indeed, Second Circuit observed that in the end,

"when determining whether a plaintiff may be allowed to maintain an

action under a pseudonym, the plaintiff's interest in anonymity must be

balanced against both the public interest in disclosure and any prejudice to

the defendant." Id. at 189; see also Delta Airlines, Inc., 310 F.R.D. at 224.

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      B.    Analysis

            1.    Whether the Litigation Involves Matters That Are Highly
                  Sensitive and of a Personal Nature

      The first pertinent factor under Sealed Plaintiff requires the court to

consider whether the case involves matters that are highly sensitive or of a

personal nature. Sealed Plaintiff, 537 F.3d at 190. To help place this factor

in context, I note that it is generally well-accepted that claims involving

sexual orientation, pregnancy, or minor children are examples of matters

that qualify as being highly sensitive and of a personal nature. Michael v.

Bloomberg, L.P., No. 14-CV-2657, 2015 WL 585592, at *3 (S.D.N.Y. Feb.

11, 2015). Courts are divided, however, over whether allegations of sexual

assault or misconduct similarly involve highly sensitive and personal

matters. Compare Doe v. Colgate Univ., No. 15-CV-1069, 2016 WL

1448829, at *3 (N.D.N.Y. Apr. 12, 2016) (holding that a plaintiff may

proceed anonymously because of the "highly personal and sensitive

nature" of the case) and Doe No. 2 v. Kolko, 242 F.R.D. 193, 196

(E.D.N.Y. 2006) (holding that a plaintiff who alleged that a rabbi sexually

abused him when he was a child was allowed to proceed anonymously),

with Doe v. Del Rio, 241 F.R.D. 154, 160 (S.D.N.Y. 2006) ("[A]nonymous

pleading has frequently been rejected in cases alleging sexual assault."),

and K.D. v. City of Norwalk, No. 06CV406, 2006 WL 1662905 at *1 (D.

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Conn. June 14, 2006) (granting defendants motion to reconsider allowing

plaintiff to proceed anonymously because "plaintiff's claim concerns the

investigation of the alleged sexual assault. It does not actually concern the

details of the sexual assault but rather the police's response to hearing her

report of the alleged assault.").

      In this instance, defendants have labelled plaintiffs' conduct in the

subject videos as racist, anti-Semitic, homophobic, sexist, and hostile to

people with disabilities. Dkt. No. 26 at 16. Defendant Hradsky has also

stated that the video depicted "sexual and relationship violence." Dkt. No.

5-2 at 9. Plaintiffs argue that these comments by defendants constitute a

"modern day Scarlet Letter" and, therefore, the matter is of a highly

sensitive and personal nature. Dkt. No. 25-16 at 14.

      The subject matter of the "roast" in which plaintiffs participated, as

well as defendants' comments, involve timely "hot-button" issues that are

frequently discussed and debated in many different settings across the

country. As evidence of this, there were campus protests at the University

growing out of the incident at issue, the subject video garnered

widespread local and national media attention, and there were reported

threats against plaintiffs on social media in the aftermath of the release of

the video. Dkt. No. 21-2 8, 9; Dkt. No. 25-3; Dkt. No. 25-4; Dkt. No. 25-5;



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Dkt. No. 25-6; Dkt. No. 25-12; Dkt. No. 25-13; Dkt. No. 25-14; Dkt. No. 25-

15; Dkt. No. 25-16.

      I note, moreover, that while out of the five causes of action asserted

in plaintiffs' amended complaint several involve defendants' disciplinary

response to the videos, the University Code of Conduct, the Student

Handbook, and the Student Bill of Rights, as distinct from the videos or

defendants' characterization of the videos, see Dkt. No. 21 at 17-21,

plaintiffs' claims of defamation and for punitive damages implicate the

highly sensitive and personal matters of racism, sexism, anti-Semitism,

homophobia, ableism, and sexual misconduct. Id. at 28-30. Accordingly, I

find that the subject matter of this case is of a sensitive and personal

nature, and that factor one from Sealed Plaintiff weighs in favor of

plaintiffs' anonymity.

            2.     Whether Identification Poses a Risk of Retaliatory
                   Physical or Mental Harm to Plaintiffs or to Innocent Non-
                   Parties

      Addressing the second factor, see Sealed Plaintiff, 537 F.3d at 190,

in support of their motion, defendants argue that plaintiffs have not

experienced any acts of retaliation since the videos were released and "as

time has passed, it is clear there is no legitimate risk to the safety of the

[p]laintiffs." Dkt. No. 19-1 at 8. Plaintiffs counter that they, and other

"members and new members" of Theta Tau who were not involved in the
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"roast," have experienced physical and verbal assaults, as well as threats

of physical assault, based solely upon their affiliation with the fraternity,

and have suffered extreme emotional distress. Dkt. No. 5-2 at 6, 8, 17;

Dkt. No 25-16 at 14-15.

      "Given the ease with which the public could access court files in this

case, it is reasonable that plaintiff's fears extend beyond" the University.

Kolko, 242 F.R.D. at 197. All or a majority of plaintiffs in this action intend

to transfer out of the University and continue their education elsewhere,

and persons who potentially might be offended by the "roast" videos are

not restricted to Syracuse, New York. Dkt. No. 26 at 23; see Kolko, 242

F.R.D. at 197 ("'[P]ersons potentially offended by Doe's lawsuit are

certainly not restricted to Iowa.'"(citations omitted)). In addition to

identification in the court files, local and national media outlets have

reported concerning the relevant events and could publish plaintiffs'

names in an update to their ongoing coverage, giving the public another

way to access plaintiffs' identities and link their names to the videos.6

Accordingly, requiring plaintiffs to identify themselves to proceed with this




6      Although several months have elapsed since the relevant events in this case, I
take judicial notice of the keen, ongoing media attention to the case, as evidenced by
the many media inquiries to the court concerning the status of the action and legal
proceedings occurring in the case.

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litigation could lead to physical and mental harms and threats greater than

those already experienced by them.

      Recent events buttress plaintiffs' fears regarding retribution, and

even the potential for physical violence is a legitimate concern. The

incident giving rise to plaintiffs' claims in this action has been the subject of

nationwide notoriety. According to one of the plaintiffs, a member of the

fraternity chapter was physically assaulted in a local restaurant based

upon his membership in the fraternity. Dkt. No. 5-2 at 8. Others have been

threatened with physical harm and "forced to take refuge with friends and

family to avoid public harassment." Id. at 6. In an era where, sadly, the art

of civil discourse is waning, the stigma associated with identification of

plaintiffs and attribution of their actions to those of the fraternity chapter is

concerning. We live in an era in which elected public officials are openly

calling for harassment of persons with opposing views, and speakers on

college campuses are being threatened with violence by students and

others who do not share their opinions.

      Based upon the court's finding that plaintiffs' concerns of retribution,

including the potential for physical violence against them, are genuine, I

conclude that this factor weighs heavily in favor of permitting them to

proceed in this action anonymously. Forcing plaintiffs to identify



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themselves "poses a risk that [they] would be subject to unnecessary

ridicule and attention." Colgate, 2016 WL 1448829, at *3.

             3.    Whether Plaintiffs will Suffer Additional Harms from
                   Public Identification

      Factor three of Sealed Plaintiff asks the court to consider other

harms that public identification could cause the party seeking to proceed

anonymously. Sealed Plaintiff, 537 F.3d at 190. Plaintiffs argue that

requiring them to publicly identify themselves will forever tie them to the

videos "as Google search result number 1," regardless of the outcome of

this suit. Dkt. No. 25-16 at 2. It is undeniable that the internet has made

information regarding lawsuits and the courts publicly accessible to nearly

anyone with an internet connection. See Kolko, 242 F.R.D. at 197 ("'[I]t is

now possible to determine whether a given individual is a party to a lawsuit

in federal court anywhere in the country by the simplest of computer

searches[.]'" (citations omitted)); accord City of N.Y., 201 F.R.D. at 101.

      While their permanent association with the "roast" videos online

would be a consequence of requiring plaintiffs to identify themselves, it is

not itself a harm directly attributable to plaintiffs' identification as a party to

this action, as distinct from plaintiffs' own actions. The internet linkage

between plaintiffs and the "roast" videos, however, will invariably lead to

other harms that will impact them. Plaintiffs allege that denying them the

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ability to remain anonymous would subject them to "unnecessary ridicule

and attention" and further harm their reputations and their financial,

academic, and professional futures. Dkt. No. 5-2 at 6; Dkt. No. 25-16 at 2,

3, 11 (alleging that members and new members of Theta Tau have been

"1) prohibited from attending classes or other academic pursuits; 2) fired

from jobs and threatened with firing from research positions; 3) physically

and verbally assaulted; 4) threatened with physical harm; and 5) forced to

take refuge with friends or family to avoid public harassment.").

      It is true some courts have held that, standing alone, the social

stigma, embarrassment, and economic harm that could result from being

identified in a lawsuit are not grounds for permitting a party to proceed

anonymously. Doe v. Bausch & Lomb, Inc., No. 18-CV-352, 2018 WL

2248418, at *2 (D. Conn. May 16, 2018); (accord Doe v. United Serv.'s

Life Ins. Co, 123 F.R.D. 437, 439 n.1 (S.D.N.Y. 1988)). Many courts are

reluctant to allow a party to maintain anonymity merely to protect the

person's economic or professional life. Doe I v. Individuals, 561 F. Supp.

2d 249, 257 (D. Conn. 2008) (quoting United Serv.'s Life Ins. Co., 123

F.R.D. at 439)). Parties to litigation often face financial risks because

litigation is "quintessentially public and public disclosure is in general an

inherent collateral consequence of litigation." Bausch & Lomb, Inc., 2018

WL 2248418, at *3. Therefore, any financial consequences plaintiffs may
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suffer as a result of this suit, such as the loss of jobs or the inability to

obtain employment, is a risk common to parties in a majority of lawsuits

and does not, standing alone, support plaintiffs' request to continue this

suit anonymously.

      This case, however, is materially distinguishable from those in which

reputational harm and similar, negative economic and other tangible

affects naturally flow as consequences from litigation. Plaintiffs allege that

their actions were prejudged and they were publicly proclaimed by the

defendants as "racist, anti-semitic, homophobic, sexist, and hostile to

people with disabilities" without a meaningful opportunity to be heard and

to defend their actions. Dkt. No. 26 at 20. There is plainly a serious stigma

associated with allegations of this nature and, should their identities be

made public, plaintiffs could be permanently marked as possessing the

character traits attributed to them by the University. Since forcing plaintiffs

to divulge their identities would not advance any aspect of the litigation

and would, on the other hand, pose a risk that they would be subject to

unnecessary ridicule and attention, I find that this factor also weighs in

plaintiffs' favor. Colgate, 2016 WL 1448829, at *3.




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        4.   Whether Plaintiffs are Particularly Vulnerable to the
             Possible Harms of Disclosure

        The fourth relevant factor, which examines whether the plaintiffs are

vulnerable to the potential harms of disclosure, generally relates to their

ages. Sealed Plaintiff, 537 F.3d at 190; Del Rio, 241 F.R.D. at 158

("[C]ourts have been readier to protect the privacy of infant plaintiffs than

of adults, whether because the children are conceived as more vulnerable

or because the child whose privacy is at stake has not chosen for himself

or herself to pursue the litigation." (citations omitted)). In this case,

plaintiffs are not minors who have had no say in deciding whether or not to

proceed with this litigation. Even though they are still in their formative

years, plaintiffs are adult college students who availed themselves to the

courts by filing this suit. Accordingly, I find that factor four from Sealed

Plaintiff weighs in favor of requiring plaintiffs to identify themselves in this

suit.

             5.    Whether the Suit is Challenging the Actions of the
                   Government or Those of Private Parties

        When a lawsuit challenges governmental actions, actors, or policies,

the plaintiff has a strong interest in proceeding anonymously. EW v. N.Y.

Blood Center, 213 F.R.D. 108, 111 (E.D.N.Y. 2003); see also Kolko, 242

F.R.D. at 195 ("[W]hether the defendants are governmental entities is

significant because a challenge to a governmental policy ordinarily
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implicates a public interest and the government has less of a concern with

protecting its reputation than a private individual."). Here, plaintiffs' suit

challenges the actions of private parties. This factor therefore weighs in

favor of public identification of plaintiffs. See A.B. v. Hofstra Univ., No. 17-

CV-5562, 2018 WL 1935986, at *3 (E.D.N.Y. Apr. 24, 2018) ("The fifth

factor seems to weigh against [p]laintiff as this is a suit between private

parties.").

              6.   Whether Defendants Would be Prejudiced by Allowing
                   Plaintiffs to Proceed Anonymously

      Addressing the sixth Sealed Plaintiff factor, see Sealed Plaintiff, 537

F.3d at 190, plaintiffs argue that defendants will not suffer any prejudice by

allowing them to proceed anonymously, since defendants are already

privy to their identities. Dkt. No. 25-16 at 7. Defendants respond that they

will be prejudiced because allowing plaintiffs to proceed anonymously will

impede defendants' ability to introduce personal evidence at trial and

cross-examine plaintiffs to impeach their credibility. Dkt. No. 19-1 at 15. To

evaluate this factor, the court must assess the fundamental fairness of

allowing plaintiffs to proceed anonymously, the damage to defendants'

reputation caused by maintaining plaintiffs' anonymity, and the difficulties

associated with conducting discovery in an anonymous proceeding. EW,

213 F.R.D. at 112.

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      It is undisputed that defendants already know the true identities of

plaintiffs. Dkt. No. 19-1 at 13. This would suggest that defendants would

not be prejudiced by an anonymous proceeding because defendants know

specifically who filed this lawsuit. See Colgate, 2016 WL 1448829, at *3

("Defendants are aware of [p]laintiff's true identity and will have an

uninhibited opportunity to litigate this matter regardless of whether

[p]laintiff's identity is disclosed publicly."); Kolko, 242 F.R.D. at 198 ("Other

than the need to make redactions and take measures not to disclose

plaintiff's identity, defendants will not be hampered or inconvenienced

merely by plaintiff's anonymity in court papers. Indeed, defendants already

know plaintiff's true identity."). Plaintiffs have also offered to mitigate any

remaining prejudice by providing defendants with a confidential, sealed

matrix linking their true identities with their Doe pseudonyms. Dkt. No. 25-

16 at 8.

      Allowing plaintiffs to proceed anonymously would not harm

defendants' reputations more than the aftermath of the release of the

"roast" videos already has. The Theta Tau videos have been linked with

the University since the story broke, so any reputational harm to

defendants has already been inflicted, and that harm, if any, was largely

the result of the University's actions in publicizing the relevant events. Dkt.

No. 12; Dkt. No. 13; Dkt. No. 25-3; Dkt. No. 25-4; Dkt. No. 25-5; Dkt. No.
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25-6. Any additional reputational impact to defendants would be minimal

compared to the harm plaintiffs have already suffered. See EW, 213

F.R.D. at 112 (holding that due to the substantial press regarding allegedly

problematic blood screening procedures, "any additional prejudice to the

defendant's reputation or ability to operate merely by the pursuit of the

action under a pseudonym appears minimal."). Accordingly, I find that

defendants would not suffer significant reputational harm if plaintiffs

proceeded anonymously.

      Defendants further argue that maintaining plaintiffs' anonymity could

hamper their ability to impeach plaintiffs' credibility at trial. Dkt. No. 19-1 at

15. They also maintain that "concealing the name of a party could deprive

a litigant and the court of the chance that a yet unknown witness would,

upon learning that fact about the case, know to step forward with valuable

information about the events or the credibility of witnesses." Del Rio, 241

F.R.D at 159. In this case, however, it is at best speculative to argue that

any unknown witness would bring valuable information to defendants or to

the court once they learn plaintiffs' names. Plaintiffs have already been

identified as members or prospective members of the Theta Tau fraternity

at Syracuse University who were involved in the "roast" that occurred on

March 30, 2018. This information has been released through multiple

news outlets and has been public since April 2018, giving any potential
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witnesses enough information to determine whether they had any insight

into the "roast" or any Theta Tau fraternity member who may have been

involved. Therefore, defendants' argument that potential witnesses would

not know to come forward without knowing the identities of plaintiffs is not

particularly persuasive.

      Considering the three sub-factors informing factor six of Sealed

Plaintiff, I find that defendants would not be prejudiced by allowing

plaintiffs to maintain their anonymity in this litigation.

            7.     Whether Plaintiffs' Identities Have Been Kept
                   Confidential Thus Far

      The seventh Sealed Plaintiff factor examines whether the plaintiffs'

anonymity has been preserved to date. Sealed Plaintiff, 537 F.3d at 190.

In this instance, plaintiffs' identities have not been published or released

by defendants or any local or national news organization. Dkt. No. 5-2 at

8-9; Dkt. No. 25-16 at 2. It is true that some students at the University who

have recognized plaintiffs from the videos or knew of their involvement

with the "roast," have identified certain of them using social media outlets

such as Instagram, Snapchat, and Facebook. See Dkt. No. 25-14; Dkt.

No. 25-15. Defendants argue that because plaintiffs do not allege that

"their identities are not already known throughout the Syracuse community




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and beyond" and because other University students have "doxed" them,

plaintiffs' identities have not been kept confidential. Dkt. No. 19-1 at 13.

      Outside of the Syracuse area, and more specifically the University

community, however, it does not appear that plaintiffs' identities are

generally known. Neither plaintiffs nor defendants argue that the public

knows plaintiffs' names, residences, or places of employment. Cf. Doe v.

Shakur, 164 F.R.D. 359, 362 (S.D.N.Y. 1996) (holding that plaintiff could

not proceed anonymously in part because the press knew her name,

address, and place of employment so her identity had not been kept

confidential).

      Even though plaintiffs have not been publicly named, the "roast"

videos have been accessible on YouTube since April 2018 and the

participants in the videos, including plaintiffs, are not blurred out or

augmented in any way to obscure their identities. Dkt. No. 25-16 at 2.

Anyone who is familiar with a plaintiff and sees the videos can readily

identify the person on his own. For this reason, one could argue that the

harm of being linked to the videos has already been done. This

consequence, however, only extends to the people who already know or

recognize plaintiffs. While plaintiffs are not completely anonymous in the

videos, their identities still have not been inextricably linked with the

videos. Therefore, the fact that the University and news publications have
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not published plaintiffs' names, even though some University students did

release their names on social media, resulting in some significant level of

presentation of confidentiality thus far, weighs in favor of plaintiffs

maintaining their anonymity in this suit.

      8.    Whether the Public's Interest in the Litigation is
            Furthered by Requiring Plaintiffs to Disclose Their
            Identities and Whether There is an Atypical Weak Public
            Interest in the Litigation

      Addressing Sealed Plaintiff factors eight and nine, see Sealed

Plaintiff, 537 F.3d at 190, I note that there is a "general presumption that

parties' identities are public information." Hofstra, 2018 WL 1935986 at *3;

accord Does I thru XXII v. Advanced Textile Corp., 214 F.3d 1058, 1068

(9th Cir. 2000). Plaintiffs bear the burden of showing that their private

interest in anonymity overcomes the presumption of disclosure of their

identities. Hofstra, 2018 WL 1935986, at *3.

      Since the "roast" videos were released in April of this year, there has

been local and national attention focused upon fraternity culture in

general, the limits of free speech on college campuses, and university

environments as a whole. Dkt. No 19-1 at 14; Dkt. No. 25-3; Dkt. No. 25-4;

Dkt. No. 25-5; Dkt. No. 25-6; Dkt. No. 25-12; Dkt. No. 25-13. "[L]awsuits

are public events and the public has a legitimate interest in knowing the

facts involved in them. Among those facts is the identity of the parties."

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Shakur, 164 F.R.D. at 361 (citing Doe v. Deschamps, 64 F.R.D. 652, 653

(D. Mont. 1974)). Here, there has been widespread public interest in this

story because the "roast" videos have become part of a broader debate

regarding university and fraternity culture, and plaintiffs' identities are

linked to this national conversation because of their participation in the

"roast." Therefore, I find that factor eight from Sealed Plaintiff weighs

somewhat in favor of requiring plaintiffs to identify themselves.

       Similarly, factor nine from Sealed Plaintiff weighs in favor of requiring

plaintiffs to identify themselves in this suit, since this matter is not of a

purely legal nature. See Hofstra, 2018 WL 1935986, at *3 ("The ninth

factor also weighs against [p]laintiff because the issues here are not purely

legal in nature."). This case deals with the content of the "roast" videos,

the University Conduct Board disciplinary proceedings, and statements

made by defendants Syverud, Hradsky, and Dahlberg. See Dkt. No. 26.

Additionally, the action involves questions of free speech on college

campuses and fraternity and university culture, issues that extend beyond

matters that are of a purely legal nature. Therefore, I find that factor nine

from Sealed Plaintiff also weighs slightly in favor of public identification of

plaintiffs in this suit.

              9.     Whether There are any Alternative Mechanisms for
                     Protecting the Confidentiality of Plaintiffs

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      The tenth and final Sealed Plaintiff factor requires analysis of

alternative concerns of protecting the plaintiffs' identity. Sealed Plaintiff,

537 F.3d at 190. Defendants argue that any academic records or other

confidential materials used in this lawsuit are already protected by the

Family Educational Rights and Privacy Act ("FERPA"), 20 U.S.C. § 1232g,

or by other state and federal privacy laws, which serve as alternative

mechanisms for protecting plaintiffs' confidentiality. Dkt. No. 19-1 at 15.

Plaintiffs respond that FERPA relates only to their educational records,

and is irrelevant to the question of whether plaintiffs must reveal their

identities in this lawsuit. Dkt. No. 25-16 at 16.

      It is true, as defendants argue, that FERPA and other privacy laws

may potentially protect plaintiffs' confidentiality in connection with any

applicable student records and documents submitted to the court in this

suit. See Anonymous v. Medco Health Sol. Inc., 588 F. App'x 34, 35 (2d

Cir. 2014) ("[A]ny issues regarding the confidentiality of particular

documents or the need for redaction will be handled as they arise.").

Plaintiffs are also correct, however, that the confidentiality of records and

documents is a separate issue from whether they should be required to

reveal their identities to proceed with this litigation. There are no other

mechanisms currently in place to protect plaintiffs' identities if they cannot

proceed with this litigation anonymously. Accordingly, I find that this factor
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weighs against requiring the plaintiffs to divulge their true identities in this

lawsuit.

IV.   SUMMARY AND RECOMMENDATION

      While recognizing the strong public policy favoring public access to

judicial documents and proceedings, I conclude that the overriding

concerns associated with requiring plaintiffs to divulge their identities, as

discussed above, weigh against granting defendants' motion to require

plaintiffs to reveal their identities and therefore trump the public's

presumptive right of access. Accordingly, I recommend that the court

exercise its discretion by permitting plaintiffs to proceed as Doe plaintiffs in

this action. It is therefore respectfully

      RECOMMENDED that defendants' motion for an order compelling

plaintiffs' to disclose their true identities, (Dkt. No. 19) be DENIED in all

respects.

      NOTICE: Pursuant to 28 U.S.C. § 636(b)(1), the parties may lodge

written objections to the foregoing report. Such objections must be filed

with the clerk of the court within FOURTEEN days of service of this report.

FAILURE TO SO OBJECT TO THIS REPORT WILL PRECLUDE

APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a), 6(d),

72; Roldan v. Racette, 984 F.2d 85 (2d Cir. 1993).



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      It is hereby ORDERED that the clerk of the court serve a copy of this

report and recommendation upon the parties in accordance with this

court's local rules.




Dated:      September 10, 2018
            Syracuse, NY




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